Case 1:19-md-02915-AJT-JFA Document 804 Filed 08/21/20 Page 1 of 1 PageID# 12608




                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA                           AUG t. I 2020
                                     Alexandria Division
                                                                                     CLERK, U.S. DISTRICT COURT
                                                                                        ALEXANDRIA VIRGINIA
  IN RE: CAPlTAL ONE CONSUMER                          )
  DATA SECURITY BREACH LITIGATION                      )       MDL No. 1:19md2915 (AJT/JFA)


  This Document Relates to the Consumer Cases


                                               ORDER

         On August 7, 2020, plaintiffs filed a motion to compel production of

  PricewaterhouseCoopers Report, a memorandum in support, and a notice of hearing. (Docket

  nos. 759-61). On the same day, the court ordered that the motion be heard on Friday, August 21,

  2020 to provide the parties adequate time to fully brief the issues involved in the motion.

  (Docket no. 763). On August 14, 2020, Capital One filed an opposition to the motion (Docket

  no. 786) and plaintiffs filed a reply on August 18, 2020 (Docket no. 800).

         Having reviewed the motion, memorandum in support, opposition, and reply, and for the

  reasons stated during the hearing on Friday, August 21, 2020, it is hereby

         ORDERED that plaintiffs' motion to compel production of the PricewaterhouseCoopers




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  Report is denied.

         Entered this 21st day of August, 2020.
                                                       ...,.....,---=-.,.-,--/s/ __
                                                       John F. Anderson
                                                       Iloited States Magistrate Jydge
                                                       John F. Anderson
  Alexandria, Virginia                                 United States Magistrate Judge
